
PER CURIAM.
We reverse the restitution order in this case and remand for an evidentiary hearing on whether appellant has the ability to pay the $5,525.79 restitution ordered. See § 985.231(l)(a)l.a., (l)(a)9., Fla. Stat. (2004); A.J. v. State, 677 So.2d 935, 938 (Fla. 4th DCA 1996) (reversing restitution order where court did not consider ability to pay); R.D.S. v. State, 844 So.2d 720, 720-21 (Fla. 2d DCA 2003) (observing that unemployed delinquent child may be ordered to pay restitution without a showing of present ability to pay, as long as court determines what the child may be expected to earn upon finding suitable employment). We also reverse the order as to appellant’s mother. See Fla. R. Juv. P. 8.030(b), 8.031(a); J.C.R. v. State, 785 So.2d 550, 552 (Fla. 4th DCA 2001) (vacating restitution order and remanding for proceedings to determine whether parent may be held liable under section 985.231(l)(a)9.).
KLEIN, GROSS and MAY, JJ., concur.
